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WARNER-LAMBERT TO PAY $430 MILLION TO RESOLVE CRIMINAL & CIVIL
HEALTH CARE LIABILITY RELATING TO OFF-LABEL PROMOTION

WASHINGTON, D.C. - American pharmaceutical manufacturer Warner-Lambert has agreed to
plead guilty and pay more than $430 million to resolve criminal charges and civil liabilities in
connection with its Parke-Davis division’s illegal and fraudulent promotion of unapproved uses for one
of its drug products, Associate Attorney General Robert D. McCallum, Jr. and Massachusetts US.
Attorney Michael J. Sullivan announced today. The drug Neurontin was approved by the Food and Drug
Administration in December 1993 solely for adjunctive or supplemental anti-seizure use by epilepsy
patients.

Under the provisions of the Food, Drug and Cosmetic Act, a company must specify the intended uses
of a product in its new drug application to FDA. Once approved, the drug may not be marketed or
promoted for so-called "off-label" uses - any use not specified in an application and approved by FDA.

However, Warner-Lambert’s strategic marketing plans, as well as other evidence, show that
Neurontin was aggressively marketed to treat a wide array of ailments for which the drug was not
approved. The company promoted Neurontin for the treatment of bipolar mental disorder, various pain
disorders, Amyotrophic Lateral Sclerosis (ALS, a degenerative nerve disease commonly referred to as
Lou Gehrig's Disease), attention deficit disorder, migraine, drug and alcohol withdrawal seizures,
restless leg syndrome, and as a first-line monotherapy treatment for epilepsy (using Neurontin alone,
rather than in addition to another drug).

“The Department of Justice is committed to rooting out and prosecuting health care fraud,” said
Associate Attorney General Robert McCallum. “It is of paramount importance that the Department use
every legal tool at its disposal to assure the health and safety of the consumers of America’s health care
system, and to pursue companies and individuals that steal from the taxpayers and inflict suffering on
patients and families. The Department's commitment to effective health care fraud enforcement is driven
by a mandate that wrongdoers be brought to justice, to deter conduct which threatens the safety and
welfare of all Americans, and the need to protect the resources of the Medicare Trust Fund, state
Medicaid programs, and other government health programs.”

Warner-Lambert promoted Neurontin even when scientific studies had shown it was not effective. For
example, the company promoted Neurontin as effective for use as the sole drug (monotherapy) for
epileptic seizures, even after solo use had been specifically rejected by the FDA. Similarly, the
